Case: 2:18-cv-00205-DLB-CJS Doc #: 132-8 Filed: 09/28/23 Page: 1 of 4 - Page ID#:
                                    1690




   EXHIBIT 207
   Case: 2:18-cv-00205-DLB-CJS Doc #: 132-8 Filed: 09/28/23 Page: 2 of 4 - Page ID#:
                                       1691                Boschan Report Exhibit C


CEDAR
                                    CURRENT PRACTICE
BOSCHAN                             Cedar M. Boschan has atwo-decade record
                                    of excellence in forensic accounting. Ms.
                                    Boschan founded IP & damages consulting
                                    firm Boschan Corp. in 2015 to provide to law
                                    firms and their clients compliance audit,
                                    forensic accounting, valuation, and other
                                    specialized expert services.


                                    PAST EXPERIENCE
                                    Faculty- Los Angeles College of Music
                                    (2016 2019)
                                             -




                                    Taught royalty accounting and applied
                                    economics at private college in Pasadena

                                    Principal Green Hasson & Janks, LLP
                                                             -




                                    (2013 2015)
CURRICULUM                                   -




                                    Led the forensics and contract audit
VITAE                               department

                                    Partner Hurewitz, Boschan & Co., L
                                                         -




                                    (2009 2013)      -




                                    Royalty and profit participation audits,
      (424) 248-8866
                                    litigation support and consulting

                                    Manager Miller, Kaplan, Arase & Co., LLP
if
                                                                 -



      @BoschanCorp                  (2008 2009)      -




                                    Compliance audits, corporate analysis

Linked in                           Manager Wolinsky, Becker & Hurewitz, LLP
                                                                 -




                                    (2001 2008)  -




6 cedar@boschan.com                 Royalty accounting and participation
                                    examinations, IP and damages valuations, due
                                    diligence services




                                                                                                 Is
                                    BOSCHAN CORP.                        Phone: (424) 248-8866

                        10866 Washington Blvd., #1205                   Web Site: boschan.com

   1I
    CURRICULUM VITAE             Culver City, CA 90232               ClientService@Boschan.com
   Case: 2:18-cv-00205-DLB-CJS Doc #: 132-8 Filed: 09/28/23 Page: 3 of 4 - Page ID#:
                                       1692

                                                                      CURRICULUM
                                                                           VITAE
THOUGHT LEADERSHIP
Cedar Boschan has spoken at South by
Southwest (SXSW), the Beverly Hills Bar
Association, Loyola Law School and the
University of Southern California.

Accounting Today, KTLA 5 News, USA
Today, The Wall Street Journal, Billboard,
Rolling Stone, and The Daily Journal                 red the First Platinum Hit. 45 Years
have featured interviews and/or quotes              yIs Fighting for Every Penny
of Ms. Boschan.                                                                                   oe
                                                                rfr
                                                                I

EDUCATION
Recent Courses Include:
 • Discounted           Advanced
   Cash Flow (DCF)      Valuation © New
   and Other            York University
                                                     surprised it took along time, and I'm glad she hung in there,
   Valuation            (2022)                      ii, the head of afirm that regularly audits labels over royalty p

   Methodologies                                    d[Sony] turned on the faucet; that's what's really important.'

   © New York           Statistics ©
   Institute of         Massachusetts
   Finance              Institute oof
   (2023)               Technology (2019)


University of Southern California
1995-1999; B.S. in Music Industry; Studied:
 • Accounting                • Macroeconomics
 • Calculus                  • Math for Business &
 • Data Processing           • Economics
 • Legal Writing             • Microeconomics
 Case: 2:18-cv-00205-DLB-CJS Doc #: 132-8 Filed: 09/28/23 Page: 4 of 4 - Page ID#:
                                     1693
                                                                        CURRICULUM
                                                                             VITAE

EXPERT TESTIMONY
  • Greer v. Electronic Arts               -




  • Proprietary Technologies, Inc. v. Danaher
     Corp., et al.

  • SamirAbu Lughod v. Suhail Calis, eta[.

  • Robert Azinian v. Vachik Abadisians

  • In re: Estate of Lou Rawls                                         CEDAR BOSCHAN
  • Art&Coin Television, LLC, et at. v. Havas LLC,                      BOARD SERVICE:
     et al.
                                                                        Executive Committee
     In re: Craig Lyons Scheiske                                        Member
                                                                        Beverly Hills Bar
     Saurer et al. v. Gadfly Dist., et at.                              Association
                                                                        (2009 2019)-




     Mayorga v. Fancher DBA Frontier Records
                                                                        Board Director
     Artemis Realty Capital Advisors, LLC and Arc                       Trilite
     Retail 1, LLC v. Freeman, Freeman & Smiley                         (2020-2023)
     LLP, et al.
                                                                        Treasurer & CFO
  • Julia Riva & Four Jays Music Company v.                             ROAR As One
     Jophe Jones, et al.                                                (2017 2022)
                                                                               -




     O'Donnell & Salvatore v. Microsoft                                 National Treasurer
                                                                        Association of
     Bronner v. Hardy, et al.                                           Independent Music
                                                                        Publishers
     Tangent Games, LLC v. Sony Interactive                             (2012- 2016)
     Entertainment, LLC
                                                                        Board Director
                                                                        The CCC
                                                                        (2009 2013)-




                                                                                       13
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